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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


 LAKEFRONT PICTURES, LLC, JENNIFER                      )
 KARUM and THE CURSE, LLC,                              )
                                                        )
                     Plaintiffs,                        )
                                                        )
           vs.                                          )    Case No. _______________
                                                        )
 JORDAN ANCEL, JORDAN ANCEL                             )
 INTERNATIONAL, LLC, ROCK CITY ROAD                     )
 FILMS LLC, CANDICE ROSE, and DOE                       )
 DEFENDANTS 1-20,                                       )
                                                        )
                     Defendants.                        )


                    COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

         Plaintiffs, LAKEFRONT PICTURES, LLC (“LFP”), JENNIFER KARUM (“Karum”) and

THE CURSE, LLC (“The Curse”), by their attorneys, for their Complaint against Defendants

JORDAN ANCEL, JORDAN ANCEL INTERNATIONAL, LLC, ROCK CITY ROAD FILMS

LLC, CANDICE ROSE and DOE DEFENDANTS 1-20, state as follows:

                                       NATURE OF ACTION

         1.        This action has been commenced to redress an intense and coordinated campaign

of smears, harassment and bullying directed primarily at Plaintiffs LFP and Karum, at which

Defendant Jordan Ancel is at the center.

         2.        Indeed, through Ancel’s actions is merely making good on his brazen public threat

to “burn her life down,” and “ruin” Karum and her company, LFP, without impunity, taunting her

via text “Bitch, you can’t do shit to me.” See Group Exhibit C, submitted herewith.




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       3.      As part of his campaign, Ancel has enlisted others who have shown an interest in

currying favor with him as a potential Hollywood networking contact, that have been willing to

engage in conduct that has been and continues to be wrongful and purposefully malicious, for

which they must be held accountable.

                                          THE PARTIES

       4.      Plaintiff Karum is an individual who is a citizen of and domiciled in the State of

Illinois, who works and resides in Cook County, Illinois.

       5.      Plaintiff LFP is a limited liability company organized and existing under the laws

of the state of Illinois, with its principal place of business located in Cook County, Illinois. Karum

is a Member of LFP and at all relevant times has served as one of its Managers. Ryan Atkins

(“Atkins”) is the other Member and Manager of LFP.

       6.      Plaintiff The Curse is a limited liability company organized and existing under the

laws of the state of Illinois, with its principal place of business located in Cook County, Illinois.

Karum and Atkins are members of The Curse and at all relevant times have served as its Managers.

The remaining members of The Curse are citizens of and domiciled in the states of Illinois, New

Jersey and Pennsylvania.

       7.     Defendant Jordan Ancel (“Ancel”) is an individual who is a citizen of and domiciled

in the State of California.

       8.     Defendant Jordan Ancel International, LLC, (“Ancel International”) is a limited

liability company organized and existing under the laws of the state of California located in Los

Angeles. On information and belief, Ancel is the sole member of Ancel International.

       9.     On information and belief, Defendant Rock City Road Films LLC (“Rock City”)

was an Illinois LLC, whose sole member was Ancel, formed for the sole purpose of contracting

with and/or receiving payment for The Curse relating to services to be rendered by Ancel.


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       10.    Defendant Candice Rose (“Rose”) is an individual who is a citizen of and domiciled

in the State of Wisconsin.

       11.     The Doe Defendants 1-20 are individuals, whose identities are not yet known with

the requisite certainty (but the identities of some are strongly suspected), who have acted in concert

with Ancel with the express intention to injure LFP and Karum, and who Plaintiffs Karum expect

to add as named Defendants when their identities and actual malice are confirmed through initial

discovery.

                                 JURISDICTION AND VENUE

       12.     Based upon the citizenship of their respective members (addressed above), LFP is

deemed to be a citizen of the state of Illinois, and The Curse is deemed to be a citizen of the states

of Illinois, New Jersey and Pennsylvania.

       13.     Based upon the citizenship of its respective members (addressed above), both Ancel

International and Rock City are deemed to be citizens of the state of California.

       14.     None of the Plaintiffs are citizens of or domiciled in California or Wisconsin, and

none of the Defendants are citizens of or domiciled in Illinois, New Jersey or Pennsylvania.

       15.     Accordingly, this Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332(a)(1) because the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between citizens of different States.

       16.     As set forth more fully below, Ancel, either individually or through Rock City and

Ancel International, contracted with both LFP and The Curse in Illinois, stipulated to jurisdiction

in Illinois on behalf of Ancel International, traveled repeatedly to Illinois, provided services in

Illinois, directed tortious acts and conduct towards citizens of Illinois that have resulted in injury

in Illinois, and Ancel has availed himself of the privilege of asserting claims in the Circuit Court

of Cook County, Illinois.


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        17.    As set forth more fully below, Rose contracted with both LFP and The Curse,

traveled repeatedly to Illinois and/or provided services in Illinois in connection with those

contracts, directed tortious acts and conduct towards citizens of Illinois that have resulted in injury

in Illinois.

        18.    Venue is therefore proper in this District pursuant to 28 U.S.C. § 1391(b)(1) and

(2).

                             FACTS COMMON TO ALL COUNTS

        19.    Karum is neuro-diverse, and on the autism spectrum. As a child on the autism

spectrum, Karum was relentlessly teased and bullied in school by children who cruelly mocked

her for not being “normal.” These painful experiences during her youth fueled an interest in theater,

which offered Karum a “safe space” where she could, at least act normal.

        20.    Through theater, Karum began to develop a sense of confidence and belonging that

eventually changed her outlook towards school and her ability to relate to and with her peers.

Karum remained active in theater throughout high school. Karum is a 2005 graduate of Ohio

Wesleyan University where she studied theater and dance.

        21.    After graduating, Karum thrived in the workforce, harnessing her persistence to

achieve success in various sales positions over the course of 18 years.

        22.    Although Karum is open about being neuro-diverse, and how it has impacted her,

both as a person and an artist, most people who meet Karum would not assume or realize that she

was on the spectrum, although Karum still struggles at times with certain social cues and can

become prone to a fixation on pleasing others.

        23.    Despite her success in the workforce, Karum’s passion remained in theater and a

developing interest in film. Karum sought and booked acting opportunities, and while on set, she




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carefully studied and engaged with directors, assistant directors and producers to learn about all

aspects of the film industry.

       24.     Eventually, Karum left her sales job in order to focus on her passion for acting and

film, determined to support and promote other neuro-diverse artists, and give voice to a group that

is underrepresented in the film industry.

       25.     After landing several acting roles, Karum’s interest in filmmaking intensified.

       26.     Karum met Atkins when she auditioned for a role on a project he was spearheading.

At the time, Atkins had film credits as a cinematographer, director, and editor over the course of

several years in the industry.

       27.     Karum and Atkins quickly developed a strong synergy, and they worked together

to transform Atkins’ working concept into a TV pilot for what came to be known as “Conrad,”

about a female detective on the autism spectrum.

       28.     Determined to get the Conrad pilot made, Karum and Atkins joined forces to form

their own production company, LFP, with the stated mission of sharing untold stories from voices

normally unheard.

       29.     After remaking the script for the Conrad pilot, Karum and Atkins, through their

newly formed production company, LFP, developed a budget for the pilot, raised necessary capital,

and aggressively promoted the script to various prominent actors, in an effort to best position the

project to get “picked-up” by a studio.

       30.     Yet, despite the relative inexperience of its principles in the role of the producers,

the strong script drew the attention of Eric Roberts (who’s extensive film and TV credits include

The Pope of Greenwich Village, The Expendables, and The Dark Knight), and Harry Lennix (The




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Blacklist, The Matrix series, Ray, etc.), and after speaking with Karum, learning about her story,

and impressed by her passion and energy, both Roberts and Lennix signed onto the project.

       31.     Karum’s and Atkins’ first attempt at producing was both exhilarating and

humbling, as the duo benefited immensely from direct hands-on experience that accelerated their

learning curve, but also made their share of mistakes as they learned “on the job.” On balance,

however, the experience producing Conrad, was invaluable, and validated the work of all of those

involved with the project.

       32.     Karum and Atkins (with the assistance of others) prepared materials to pitch

Conrad as a series, developing a three-season arc and an extensive show bible. The Conrad pilot

earned substantial acclaim, and Netflix expressed interest in the series, although those discussions

fizzled during COVID and the long ensuing shutdown of nearly all projects.

       33.     The experience and relative success of Conrad, however, became a springboard for

new opportunities. Among other projects, Karum wrote, co-directed, and acted (supporting role)

in a short film that LFP produced, a thriller released in 2018 called “The Nest,” about a young

woman who is tormented by premonitions about the fate of others around her.

       34.     LFP was also engaged by filmmakers to produce and/or direct several award-

wining short films, bringing the valued resource of a complete, experienced and carefully vetted

production crew that has worked repeatedly with LFP (including on The Unseen, a feature film

discussed in detail below).

       35.     LFP also began offering and offers an array of services for aspiring actors and

filmmakers, including writing, directing and producing demo-scenes.

                              Karum and LFP Create “The Unseen”

       36.     In 2020, Karum also began working on the script for her first feature length film,

The Unseen, a supernatural thriller, on which she began working after completing the Conrad pilot.


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Karum worked with Vincent Shade, a veteran producer and director, who mentored Karum through

the script-writing process for a full-length film, and specifically with respect to scripts for the

horror genre.

       37.        Karum and Atkins, through LFP, worked as the producers for The Unseen, handling

all of the many underlying tasks involved with taking a script and turning it into a movie.

       38.        LFP successfully raised capital to cover more than half of the film’s proposed

budget from outside investors and began casting for actors, mostly from the Chicagoland area.

       39.        But to best position the film to secure broader distribution, and in keeping with

LFP’s mission of creating opportunity for an under-represented segment of the industry, LFP

pitched the script and lead role in The Unseen to RJ Mitte, best known for his recurring role as

“Walt Jr.” on the highly acclaimed series, Breaking Bad, who like his character on the show, has

cerebral palsy.

       40.        Through considerable effort, LFP secured Mitte’s commitment to the film, and

turned attention to the considerable work involved with planning, preparation and martialing the

resources to make a movie. Karum reserved a small supporting role in the film for herself (as

Mitte’s character’s older sister).

       41.        LFP also pre-cast two of the other major roles, including Rose, with whom Karum

had attended classes, become friendly (scenes from Conrad were even filmed at Rose’s home),

and for whom LFP had produced a scene for her demo reel, and Rebekah Kennedy, with whom

Karum connected after seeing her work on Law & Order, and developed a friendship borne of

their respective mutual admiration for the other’s work.




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       42.     Among the lessons learned as newly minted producers on Conrad, Karum and

Atkins experienced the challenges of wearing multiple hats in connection with a project,

particularly in Karum’s case, who juggled roles both in front of and behind the camera.

       43.     Atkins and Karum concurred that for The Unseen, LFP would bring in a dedicated

Director, eventually hiring Vincent Shade, with whom they had worked (and was familiar with the

script), and collectively, they all agreed to bring in an extra producer to help to manage the set

when Karum was acting, so that she could otherwise focus on her role as producer (when not

acting), and so that Atkins could focus primarily on cinematography.

          LFP Contracts with Ancel to Serve as the Third Producer on The Unseen

       44.     Eventually LFP reached out to Ancel to discuss the role of Producer.

       45.     Karum knew of Ancel before they ever worked together. Karum was part of a

“Thriving Actors” Facebook Group in which Ancel offered coaching/mentoring services and the

like to aspiring actors and touting his experience as a producer.

       46.     Ancel also touted to the Facebook Group that his wife was a prominent Hollywood

agent, and he aggressively pitched himself as a valuable networking contact by members of the

group seeking representation.

       47.     At the time that LFP first reached out to Ancel about serving as a third producer on

the film, Karum and Atkins had already been working on the project for well over a year, had

completed the majority of the “development work” on the project, and had begun to focus on pre-

production.

       48.     When he was first approached, Ancel showed no interest in the project. In fact, it

was not until he learned that Karum and Atkins had lined-up Mitte as the lead actor that Ancel did

a complete about-face and expressed serious interest in a producer role, hyping all that he could

do to assist and train Karum and Atkins as producers.


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        49.      In reality, on information and belief, Ancel had little meaningful experience with

or reputation for producing feature films, and he actually saw The Unseen as an opportunity to pad

his resume (which, at the time, featured mostly short films and commercials), as well as his

opportunity to forge a relationship with a lead actor with established credits, that he could attempt

to parlay into more opportunities to get involved with feature films.

        50.      On or about May 31, 2021, Ancel, through Rock City, entered into a Producer

Agreement with The Curse, a special purpose entity Managed by LFP that owned all of the

intellectual property rights relating to The Unseen, to assist Karum/Atkins/LFP, the film’s primary

producers. A copy of the Producer Agreement is submitted herewith as Exhibit A.

        51.      Pursuant to the express terms of the Producer Agreement, Ancel was to receive a

flat fee, and provided he/Rock City was not in material breach of the Production Agreement, would

also be eligible to receive a small percent of “Net Profits of the film (as that term was defined

therein). Id. at par. 3.

        52.      The Producer Agreement also made clear, however, that The Curse was not

obligated to use Ancel’s services, or the results of such services in connection with the film, or

to produce, release or distribute The Unseen after it was completed. Id. at par. 3.3.

        53.      Significantly, the Producer Agreement also made clear that Ancel would only be

entitled to earn third-producer credit, expressly stating that: “…provided Ancel performs all of his

material services hereunder and that neither [Rock City] nor Ancel is in material uncured breach

hereof, Production Company shall accord Ancel a “Producer” credit on-screen on either no less

than the single third producers’ card or, at Production Company’s discretion, the second producers

card, shared only with Ryan Atkins, in the main titles on all positive and/or digital prints of the

Picture.” (emphasis added). Id. at par. 4.




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        54.        Pursuant to the Producer Agreement, Ancel ceded to The Curse the sole and

exclusive right to publicize Ancel’s role with and services to the film, and to make any changes to

the script for and characters in The Unseen. Id. at pars. 5, 6. Ancel further warranted that he would

not “do anything which may impair any of the rights granted to [The Curse].” Id. at par. 10.

        55.        Concurrently, Ancel, through Ancel International, also executed a Non-Disclosure

Agreement with LFP (the “NDA”), a copy of which is submitted herewith as Exhibit B.

        56.        Pursuant to Ancel’s NDA, he agreed not to disclose “Confidential Information” (id.

at p. 1) and “not to discuss any information about the project, disparage or reveal prejudice whether

deemed factual or opinion to 3rd parties over phone, in person, emails, social media, or any other

electronic form of communication…” Id. at p. 5.

        57.        The NDA made clear that Ancel’s breach thereof could result in his forfeiting credit

for the film at the discretion of the primary producers. Id. Ancel actually initialed the referenced

provision acknowledging that he understood that his credits could be forfeited.

              Ancel’s Time on the Set of The Unseen was an Unmitigated Disaster

        58.        Ancel joined the film as a producer during the final portion of the “development

phase” of the project and showed initial enthusiasm. Ancel introduced LFP to additional investors

who contributed capital, and during script meetings, offered helpful ideas that Karum incorporated

into the script.

        59.        But after making a positive first impression, Ancel became largely disengaged,

missing numerous calls and meetings, and neglecting his responsibilities, apologetically citing

various ongoing personal issues he was having, leaving Karum and Atkins to shoulder an outsized

burden relative to the production.

        60.        Given the film’s limited budget (developed and managed entirely by LFP), all of

the filming was set to take place in the Greater Chicago Metropolitan area over a three-week


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period, with one week of shooting in April 2022, after which they would resume and complete

filming over a two-week period in June 2022.

       61.     LFP identified and secured substantially all of the site locations (homes, offices,

restaurants, school, etc.) at which scenes were to be filmed.

       62.     In light of the aggressive filming schedule, Karum and Atkins anticipated that the

days on sets would be long, and that coordination among the producers would be critical to staying

on time and budget.

       63.     Karum and Atkins reiterated to Ancel that his principal role would be to run the set

on days when Karum would have to focus on her work in front of the camera, and reasonably

expected that Ancel would conduct himself professionally.

       64.     As set forth more fully below, however, Ancel failed to perform competently or

professionally, and even in the third-producer role, Ancel became far more of a distraction

(particularly on the set) than he was an asset.

       65.     Shortly after they began working together, Ancel began to confide in Karum about

unhappiness in his marriage, and about extra-marital affairs.

       66.     While surprised that Ancel would only discuss personal and sensitive topics like

his marriage and infidelity with anyone with whom he was supposed to have a professional

relationship, Karum was not bothered by it at first, as she viewed it as a sign that Ancel trusted her

enough to confide in her. Thus, Karum tried to be understanding and sympathetic when Ancel

confided in her.

       67.     During pre-production and thereafter, however, Ancel’s continued talk about his

affairs became almost boastful in nature and thus increasingly off-putting. Karum felt particularly




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uneasy when Ancel told her about following a woman to a weekend yoga retreat in the hopes of

rekindling an amorous relationship with her, which Karum considered “creepy” and “stalker-like.”

       68.     Karum asked Ancel to refrain from discussing his sex life with her any further, but

after a brief respite, Ancel could not restrain himself and continued his objectionable chatter about

sexual pursuits and conquests, which became particularly problematic when Ancel’s inability to

control his libido began impacting his work and the production set.

       69.     As a producer, it is completely inappropriate to have any relationship, consensual

or otherwise, with any member of crew or staff. Yet while on set, Ancel flirted incessantly with a

young woman (the props manager) on the crew, even after Karum asked him to stop.

       70.     Without regard to Karum’s admonition, Ancel continued his amorous pursuit of the

female crew member, even leaving the set early on occasion so that he could accompany the crew

member to her home, abdicating his responsibilities and leaving Karum and Atkins to handle the

producers’ responsibilities before filming resumed in the morning.

       71.     Jordan also told Karum that he was “really attracted” to another young female staff

member. Karum admonished Ancel to act professionally and asked him to focus on the work at

hand, since all of the filming for The Unseen was going to be compressed into three weeks.

       72.     Karum and Atkins continued to admonish Ancel about his behavior (and even

privately considered terminating him for cause), prompting Jordan to threaten that “his investors”

would pull their money out of the film if he were to be removed from his role as a producer.

       73.     Given the already tight filming schedule, and the havoc that would result if

investors even threatened to back out, Karum and Atkins elected not to terminate Ancel during

filming.




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       74.     The text below was sent by Ancel to Karum, evidencing both that Ancel’s discussed

his affairs with Karum, as well as his threats (as the relationship soured) toward Karum discussed

more fully below about telling anyone about his affairs.




       75.     Once on set, Ancel showed almost no interest in fulfilling the third-producer role

and responsibilities for which he was actually hired.

       76.     While Ancel induced The Curse to hire him by touting his producer’s experience

as a valuable resource to Karum and Atkins, Ancel proved largely inept at anticipating even basic

production needs or planning ahead for contingencies, instead spending most of his time away

from the set glad-handing (rather than managing) the cast and crew.




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       77.     On one particular night on set at a suburban home location, Ancel simply decided

to take a nap on the couch (alongside a young female member of the crew) during filming, while

others worked into the night.

       78.     Ancel took little initiative and routinely ignored basic administrative

responsibilities of a producer. For instance, while shooting on location at a home, a door was

damaged in Ancel’s presence (Karum was acting, not producing on that date). Ancel was

inexplicably combative with the homeowner, and rather than taking charge of the repair, he

attempted to first push-off the responsibility to the crew, and then to LFP (without telling LFP),

angering the home’s owner when the door remained unrepaired for more than a month.

       79.     Karum and/or Atkins had to prepare specific task lists for Ancel and regularly

monitor his progress with respect to those tasks or they simply would not get done. And still,

Karum, Atkins and sometimes Shade would have to pick up the slack from Ancel’s neglect,

making for extremely long days during pre-production and on set.

       80.     On set, Ancel simply refused to accept the role of the third producer for which he

was actually hired and looked for every opportunity to portray and comport himself as the film’s

primary producer.

       81.     As with any low budget project with limited days allotted to film, Karum and Atkins

anticipated that there would be mistakes, issues and frustrations, and they expected that

collectively, the producers would discuss them privately and then present a united front in

addressing the issues.

       82.     Instead, when cast or crew approached Ancel with any issue, he reflexively blamed

others, mostly Karum and/or Atkins (even when it was his fault), abdicating any semblance of

leadership or a willingness to make necessary decisions that were unpopular.




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       83.     But other times, when Ancel was eager to portray himself as the one in charge, he

would act unilaterally and impulsively, including with respect to personnel decisions.

       84.     Moreover, when he did not get his way, Ancel would fly off the handle and get

aggressively angry, which he described as “going nuclear.” On set, “You don’t want to see me go

nuclear,” became a common and ominous refrain from Ancel in an effort to get his way, often

threatening to have his minority investors “pull their funding” or to have the Screen Actors Guild

(SAG) shut down the project.

       85.     Ancel also displayed terrible professional judgment, by using marijuana on set—

an express violation of SAG—and most disturbingly, giving cannabis-infused gummies to interns,

including at least one who was below the legal age of consumption.

       86.     Karum, who was not on location at the time of the incident, learned about it from

other members of the crew, and she confronted Ancel about his actions. Ancel did not deny the

allegations yet became indignant that Karum would even raise the issue, gaslighting her as if she

was somehow wrong to insist upon compliance with SAG rules that otherwise put the entire

production at risk. Ancel’s texts below reflect the same:




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       73.     Ancel seemed to have a particular problem taking direction from Karum as a

woman.

       73.     When Karum would stand her ground, Ancel was misogynistic and verbally

abusive, frequently engaging in tirades laced with grotesque profanity that should never be

tolerated in any work environment.

       74.     Ancel also tried to weaponize Karum’s autism, bullying her, and often doing so in

front of the cast and crew to embarrass her and foment division on the set, creating an unnecessarily

stressful work environment, and one that was particularly difficult for Karum (as someone who is

neuro-diverse), who is hypersensitive about resolving conflict.

       75.     Other times, Ancel would cruelly mock Karum’s autism, telling her and others that

Karum merely “uses” autism as a crutch to excuse or justify her actions.

       76.     When he was not given access to budget details (to which he was not entitled),

Ancel made deliberately false statements to investors and to Mitte’s representation that Karum was


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misappropriating funds from the production budget (which was carefully monitored by the Unit

Production Manager), so that they would demand a review of the books, causing increasing tension

and distrust. The investors’ ensuing review of the books found no evidence of misappropriation.

       77.     Ancel’s disruptive behavior peaked during the final week of filming. As the writer

of The Unseen, Karum and the film’s Director discussed modest additions to the script (relating to

Karum’s role) which is both common in the industry, and something that the Director felt was

necessary to tie together the storyline.

       78.     When he learned that the script had been modified without his consultation, Ancel

“went nuclear” (to use his term) even though he had contractually agreed that LFP had the

exclusive rights with respect to the script, and script revisions.

       79.     After Karum tersely told Ancel that she would make the changes to the script that

she deemed appropriate, Ancel began to spread false rumors among the cast that the script changes

were merely driven by Karum’s ego, and although the change only involved a single line of

dialogue, Ancel convinced members of the cast that the change to the script would adversely

impact their role and screen time.

       80.     Ancel’s false rumors set-off a firestorm of concerns, which he stoked to make

people believe that Karum’s continued presence on set threatened production, the completion of

the project, and payments to crew.

       81.     Blind-sided by these false rumors, Karum (unlike Ancel) chose to put the interests

of her film before her own personal agenda and volunteered to step away from set for the day so

as not to disrupt the already packed schedule for the final days.

       82.     Then, in the ultimate act of petulance by Ancel, and in an attempt to wrest control

away from LFP so as to assume control over the final critical days of shooting, Ancel spread false




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rumors, first among the cast (and to the lead actor’s mother), and among the crew to make them

all believe that that if Karum returned to the set, there would be an exodus of both cast and crew.

       83.     Exploiting the chaos he created, Ancel effectively forced Karum to stay away from

her own set for the final five days of filming.

       84.     In her absence, Ancel relished the opportunity to curry favor with the crew,

unilaterally approving overtime requests and hotel charges, without discussing it with Karum or

Atkins, and without regard to the fact that the budget could not support such charges.

       85.     Before filming concluded, Karum learned that the Director slept in his car after a

late night on set and arranged to get him a hotel room (something Ancel should have done).

       86.     Karum, who had booked a block of rooms at the Allerton Hotel for Ancel and cast

members who hailed from outside the Chicago area, called the hotel to add another room to the

block. At the same time, she thought it would be a nice gesture to drop-off goody bags of assorted

snacks (that she purchased) to allay tensions regarding her ouster from the set.

       87.     When Karum arrived at the hotel, she asked the front desk to deliver the bags to

various rooms but was told that as the person who booked the rooms and named on the reservation,

that she could be given access to each of the rooms to deliver them herself.

       88.     Karum, however, did not want to enter anyone’s room, and asked that security

handle the deliveries. The hotel instead proposed that she accompany hotel security to the rooms

and direct the desired deliveries, to which Karum acquiesced.

       89.     The hotel security guard made the deliveries, but in doing so, erroneously used his

keys to access the alternate door of the lead actor’s hotel suite, startling people in the room. The

guard apologized for his oversight and Karum (who was in the hall at the time) personally handed

the bag to the person who greeted the security guard, and in the presence of the guard, was invited




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into the room by the lead actor’s mother. Karum accepted the invitation and the two had a short

but pleasant conversation.

       90.     When Ancel learned that Karum had engaged with the cast at the hotel, he texted

Karum claiming that she had crossed the line, was a “psychopath,” and threatened to call the police.

       91.     In response, Karum advised Ancel that she had not entered any room, and that

security had entered simply to deliver gifts, all of which the security guard confirmed.

       92.     Nevertheless, despite knowing the truth, Ancel purposefully and falsely told the

cast and crew that Karum had “broken into” cast hotel rooms, citing it as proof that she was

vengeful and that her presence was “dangerous.”

       93.     Ancel also falsely advised the hotel that Karum was no longer involved with the

project and that she should not be permitted to access any of the rooms in the block.

       94.     Ancel then convinced cast and crew that it would be “dangerous” to attend official

The Unseen “wrap-party” that had been planned, and decided to have his own unofficial wrap-

party from which Karum and Atkins would be banned from attending in the interests of “safety.”

       95.     At his unofficial party, Ancel made new and unwelcomed advances towards at least

one woman in the crew who complained to the film’s Unit Production Manager that Ancel would

not leave her alone at the party, even though the woman’s boyfriend was present, and asked him

to stay away from them.

       96.     In his final act of sabotage, Ancel decided to fly home before filming had

concluded, and rather than risk allowing Karum to speak directly to cast or crew outside his

presence, announced that the final day of shooting (including a critically important scene) had been

canceled, causing confusion among cast and crew that had planned to be on set to complete their

final scenes/shots.




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        97.     Representatives of SAG had to intercede to make sure that cast and crew knew that

shooting had not been cancelled, and that they were expected to be there to complete filming.

Karum returned to the set without incident to oversee filming on that day.

  Karum Advises Ancel that his Services Would Not Be Needed During Post-Production

        98.     After filming ended, Ancel was advised by LFP that his services would no longer

be necessary, relieving him of any post-production responsibilities. Instead, Karum and Atkins,

as lead producers, oversaw all aspects of post-production.

        99.     Ancel demanded that he be included in the efforts to obtain distribution of the film

but was again advised that his services were not necessary or desired and was expressly reminded

that the Producer Agreement that he signed made clear that LFP had the exclusive right to control

distribution.

        100.    Ancel became irate at his de facto termination, sending Karum a barrage of

profanity-laced texts that were as vile and offensive as they were threatening, referencing his desire

to “burn her life down,” and “ruin” her and her Company, including communications set forth in

Group Exhibit C.

        101.    Moreover, despite contractually ceding to LFP the exclusive control over publicity

of the film, Ancel began to reach out directly to media touting his role in The Unseen, called it the

film that he produced, a claim he would regularly repeat across social media over the coming

months in complete and total disregard of the express provisions of the Producer Agreement.

        102.    When The Unseen’s actual publicist politely asked Ancel to refrain from contacting

media on behalf of The Unseen, he attempted to bully her via texts submitted herewith as

Exhibit D. She reported Ancel’s attack to The Unseen’s counsel and refused to have any further

contact with him.




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        103.      Notably, when Ancel learned that the film’s publicist was also the publicist for a

prominent and coveted Los Angeles film festival (to which The Unseen was invited, he sheepishly

apologized for what he admitted was his embarrassing behavior, explaining that he believed that

she was someone aligned with Karum, effectively admitting that his actions were driven by his

animus toward Karum, and highlighting his malicious intentions in targeting Karum.

        104.      Ancel then decided to make good on his threats to “ruin” Karum and LFP, and to

“burn her life down.”

        105.      On information and belief, he responded by telling anyone who would listen that

Karum was “dangerous,” falsely telling people that she baselessly had accused him of sexual

assault (which she did not).

        106.      Ancel also commenced a suit against Karum sounding in False Light Invasion of

Privacy and Defamation, specifically repeating the allegation that Karum wrongly accused him of

sexual assault.

        107.      While Ancel’s complaint alleges that Karum made false statements that painted him

in a “false light,” the truth is that it was Ancel who widely disseminated the complaint on social

media, and even (via his counsel) to at least one industry publication (Reel Chicago) to spread the

lie that Karum had falsely accused him of sexual assault.

        108.      Then, portraying himself as the victim, Ancel boasted publicly that he had a strategy

for “taking down” Karum “in an epic way.”

        109.      Ancel began to falsely represent across social media that there was a class action

suit against Karum and/or LFP in the works, in an effort to mislead people into believing that

Karum had a history of making false accusations and encouraging people to spread the word about

it.




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       110.    In the meantime, after rallying his sycophants to speak out against Karum on social

media, Ancel was confronted in Court about the lack of any proof that Karum had ever made any

such false allegation of assault against him.

       111.    Tellingly, Ancel dropped the allegations about Karum’s accusation of sexual

assault, tacitly admitting that the claim was baseless, yet never took steps to correct or clarify his

broad public statements to the contrary, causing severe and substantial reputational harm to Karum.

       112.    Moreover, Karum has been harassed and cyber bullied by Ancel and his supporters.

       113.    Any time that someone promotes an engagement or project with LFP, they are

inundated with comments, messages and/or communications with a coordinated warning or

theme—that working with Karum and LFP are “dangerous,” and falsely claiming that Karum had

been blackballed in the Chicago film community, myths that Ancel started and has actively

promulgated directly, and through his proxies.

       114.    Ironically, after the dust settled over Ancel’s vicious rumors on set, substantially

all of the cast and crew attended the premiers of The Unseen in both Los Angeles and Chicago

with the allegedly “dangerous” Karum without any incident, while it was Ancel who was legally

prohibited from attending either premier based upon the statements of multiple witnesses to his

abusive and threatening behavior.

       115.    And others have since come forward to relay similar accounts and experiences with

Ancel citing his lack of professionalism, work ethic and volatile and otherwise inappropriate

behavior.

       116.    Yet Ancel and his followers have brazenly continued to harass and malign Karum

and LFP in messages and across social media (including in groups with tens of thousands of




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members). A small representative sample of the orchestrated and far-reaching smear campaign

directed at or about Karum and LFP is set forth in Group Exhibit E submitted herewith.

          117.   As a result of Ancel’s campaign, at least one Facebook Group has now begun

expelling from its ranks any members that works with Karum or LFP, or even has Karum among

their Facebook friends.

          118.   Other smears have been sent anonymously to LFP clients, prospects and partners

using Gmail accounts under fictitious or truncated names to avoid detection.

          119.   And spoof emails sent via Gmail that are designed to appear to the recipient as if

they had been sent by Karum or Atkins have been sent to one or more people, including at least

one former LFP intern.

          120.   On information and belief, Ancel is responsible for all or substantially all of the

false and misleading smears against Karum and LFP, described above which have either been sent

by him or at his express direction by those seeking favors or opportunities in return, including

Rose.

          121.   On information and belief, Ancel has stealthily orchestrated these attacks (using,

among other things, communication applications that cannot be traced (at least without assistance

of a forensic exam of the subject computer and mobile devices he uses).

          122.   Among others, on information and belief, Ancel has encouraged Rose to attack and

bad-mouth Karum on social media, and to Chicago area casting agents and/or agencies.

          123.   As set forth above, Rose was an actor on The Unseen (cast by LFP), who had

previously engaged LFP to create a scene for her demo reel, and for which she gave LFP a glowing

review:




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       124.    Notably, because their respective scenes were shot during different weeks, Rose

was never even on set with Karum, yet has since taken to maliciously echo Ancel’s false smears

to casting directors and others about her experience, including that Karum is “dangerous.”

       125.    As a result of the coordinated smear campaign against Karum and LFP, a number

of LFP clients canceled their contracts with the company, including contracts to film and produce

demo reels, contract to sponsor an industry event, and a contract for post-production editing.

       126.    At least one freelance engineer with which LFP had worked productively and

without incident in the past, cut ties with LFP specifically citing what they heard (ostensibly by

Ancel) was a lawsuit against LFP, when in fact, LFP had not been named in any suit, clearly

suggesting that he had been told about a pending suit rather than having actually seen the

complaint.

       127.    Another freelancer with which LFP had worked productively and without incident

in the past, cut ties with LFP specifically citing threats that anyone who worked with LFP would

be blackballed from work in the area.

       128.    Similarly, at least one prospective partner in a project, with which discussions

regarding investment and assistance with distributions had substantially advanced, precipitously

ended negotiations citing to pending litigation “against the company,” again suggesting that it had

been told about a pending suit rather than having actually seen any complaint.

       129.    LFP also was injured when interns that had accepted opportunities with the

Company, reversed their acceptances, citing the allegations made against Karum.


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       130.    Moreover, one independent casting agency has suddenly distanced itself from LFP,

again citing the concern over “safety.”

       131.    On information and belief, Ancel has directed, encouraged, incentivized and/or

rewarded those who have piled on as part of his targeted smear campaign, including among others,

Rose, Karel Ramirez, Rosaleah Gonzalez, Aaron Hawkins, and Samantha Spellman.

       132.    As a result, Ancel and those working in coordination with him have caused

substantial damages to LFP, namely hundreds of thousands of dollars in lost revenue and profits

to date, and an untold number of lost professional opportunities.

       133.    In addition, LFP and Karum have suffered substantial reputational harm that cannot

be easily quantified or remediated and face the prospect of having to invest heavily in a lengthy

public relation campaign to address the extensive disinformation propagated about LFP and Karum

that has been spread by Ancel and/or his co-conspirators.

                                              COUNT I

                                  (Against Ancel for Defamation)

       134.    Karum incorporates by reference the allegations of paragraphs 1-133 above.

       135.    As set forth below, Ancel made false statements about Karum, with full knowledge

of their falsity, first in an effort to gain control of the project so that he could claim to have had a

larger role than the third producer he contracted to fill, and then out of spite to embarrass, harass

and damage Karum’s reputation after she excluded him from any post-production activities.

       136.    Ancel’s false representations to investors and others on set that Karum had

misappropriated money from the budget was defamatory per se.

       137.    Ancel’s false statements to the cast that Karum had “broken into” hotel rooms were

defamatory per se.




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          138.   And Ancel’s false statements published to numerous third parties that Karum had

wrongfully accused him of sexual assault, made before and after he filed his suit, were defamatory

per se.

          139.   All of these false and defamatory statements were made purposefully and with

malice, with the intention of causing reputational and economic harm to Karum.

          140.   Karum has been injured as a result of Ancel’s defamatory statements.

          141.   Ancel has acted willfully, justifying an award of punitive damages to punish him

and dissuade such tortious conduct in the future.

          WHEREFORE, Karum prays for judgment in her favor and against Ancel as to Count I,

and an award of compensatory damages in an amount to be proved at trial, together with an

additional amount at least equal thereto as punitive damages, and for such additional relief that

this Court deems just and appropriate.

                                            COUNT II

                       (Against Ancel for False Light Invasion of Privacy)

          142.   Karum incorporates by reference the allegations of paragraphs 1-141 above.

          143.   As set forth above, Ancel broadly published claims about Karum, including across

 multiple social media channels.

          144.   Ancel’s statements regarding Karum were false, and placed Karum in a false light

 that is both offensive and unprofessional.

          145.   Ansel published these statements with knowledge of their falsity, and with the

 express intention of harming Karum’s reputation.

          146.   Ancel has acted willfully, justifying an award of punitive damages to punish him

and dissuade such tortious conduct in the future.




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       WHEREFORE, Karum prays for judgment in her favor and against Ancel as to Count II,

and an award of compensatory damages in an amount to be proved at trial, together with an

additional amount at least equal thereto as punitive damages, and for such additional relief that

this Court deems just and appropriate.

                                           COUNT III

                     (Against Ancel International for Breach of the NDA)

       147.    LFP incorporates by reference the allegations of paragraphs 1-146 above.

       148.    The NDA is a valid and enforceable contract.

       149.    As set forth above, Ancel materially breached the NDA, both through social media,

and by filing an unsealed and unredacted complaint that gratuitously discuss the project and

disparages parties associated therewith, which he, in turn, widely circulated via social media and

for which he actively sought publicity.

       150.    In addition to forfeiting producer credit, Ancel’s material breach of the NDA has

caused damage to LFP.

       WHEREFORE, LFP prays for judgment in its favor and against Ancel International as to

Count II, and an award of compensatory damages in an amount to be proved at trial, and for such

additional relief that this Court deems just and appropriate.

                                            COUNT IV

          (Against Ancel and Rock City for Recission of the Producer Agreement)

       151.    The Curse incorporates by reference the allegations of paragraphs 1-150 above.

       152.    The Producer Agreement is a valid and enforceable contract.

       153.    The Curse performed its obligations due to date pursuant to the Agreement.

       154.    As set forth above, Rock City and Ancel failed to perform duties under the

Agreement in a workmanlike manner, including among other things, violating SAG Rules


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regarding drug use on set, giving THC infused gummies to an underage intern, and disrupting

production at every turn.

         155.   There was a complete and total failure of consideration on Rock City’s and Ancel’s

part with respect to the Producer Agreement, warranting a recission of the Agreement,

disgorgement of sums paid to Rock City, stripping Ancel of third-producer credits, and relieving

The Curse from making any future payments to Rock City.

         WHEREFORE, The Curse prays for judgment in its favor and against Rock City as to

Count IV, rescinding the Producer Agreement for the complete failure of consideration, and

ordering the disgorgement of all compensation and credit received by Ancel to date, and for such

additional relief that this Court deems just and appropriate.

                                            COUNT V

            (Against Rock City and Ancel for Breach of the Producer Agreement)

         156.   The Curse incorporates by reference the allegations of paragraphs 1-155 below.

         157.   The Producer Agreement is a valid and enforceable contract.

         158.   The Curse performed its obligations due to date pursuant to the Agreement.

         159.   Rock City is a mere subterfuge formed by Ancel to shield himself from liability for

his misconduct. There is a complete and total unity of interest between Rock City and Ancel.

         160.   On information and belief, Rock City was at all times substantially

undercapitalized, and the entity has since been dissolved.

         161.   As set forth above, Ancel failed to perform his duties under the Agreement in a

workmanlike manner, and otherwise breached the Producer Agreement in the manner described

above.

         162.   As a direct and proximate cause of Ancel’s breaches, The Curse has been damaged

as described above.


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       163.     The veil between Rock City and Ancel should be pierced, and they should be jointly

and severally liable for the damages that they caused.

       WHEREFORE, The Curse prays for judgment in its favor and against Rock City and

Ancel, jointly and severally, as to Count V, and an award of compensatory damages in an amount

to be proved at trial, and for such additional relief that this Court deems just and appropriate.

                                            COUNT VI

              (Against Ancel and Doe Defendants 1-20 For Tortious Interference)

       164.     LFP incorporates by reference the allegations of paragraphs 1-163 above.

       165.     LFP is a party to valid and enforceable contracts described above, and was in

pursuit of additional prospective contracts, and in forging networking and referral relationships

from which it had a reasonable expectation of profiting.

       166.     Ancel and the Doe Defendants, through their smear campaign and direct acts of

interference described above, caused the termination of those contracts, and prevented the

prospective contracts and relationships from being solidified.

       167.     As a direct and proximate result of the referenced interference, LFP has been

injured.

       168.     Ancel and the Doe defendants have acted willfully, justifying an award of punitive

damages to punish them and dissuade them from engaging in such tortious conduct in the future.

       WHEREFORE, LFP prays for judgment in its favor and against Ancel and the Doe

Defendants as to Count VI, and an award of compensatory damages in an amount to be proved at

trial, together with an additional amount at least equal thereto as punitive damages, and for such

additional relief that this Court deems just and appropriate.




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                                          COUNT VII

                (Against Ancel for Intentional Infliction of Emotional Distress)

       169.     Karum incorporates by reference the allegations of paragraphs 1-168 above.

       170.     Ancel’s conduct towards and treatment of Karum described above was both

extreme and outrageous.

       171.     Ancel acted with actual malice, and as described above, acted with the express

intention of causing severe emotional distress to Karum.

       172.     Ancel was aware that Karum is on the autism spectrum, and he purposely exploited

Karum’s sensitivities and vulnerability associated with her being neuro-diverse.

       173.     Ancel acted willfully, justifying an award of punitive damages to punish him and

dissuade him from engaging in such tortious conduct in the future.

       WHEREFORE, Karum prays for judgment in her favor and against Ancel as to Count VII,

and an award of compensatory damages in an amount to be proved at trial, together with an

additional amount at least equal thereto as punitive damages, and for such additional relief that

this Court deems just and appropriate.

                                          COUNT VIII

              (Against Ancel, Rose and Doe Defendants 1-20 for Civil Conspiracy)

       174.     LFP incorporates by reference the allegations of paragraphs 1-173 above.

       175.     As set forth above, Ancel, Rose and the Doe Defendants conspired and agreed to

engage in a coordinated tortious campaign of harassment against LFP and its principals, and

interference with LFP’s business with the express purpose of injuring LFP.

       176.     Ancel, Rose and the Doe Defendants took acts, described above, in furtherance of

the referenced conspiracy.




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       177.     LFP has suffered economic loss and reputational harm as a direct and proximate

result of the referenced conspiracy.

       178.     Ancel, Rose and the Doe Defendants acted willfully, justifying an award of punitive

damages to punish them and dissuade them from engaging in such tortious conduct in the future.

       WHEREFORE, LFP prays for judgment in its favor and against Ancel, Rose and the Doe

Defendants as to Count VIII, and an award of compensatory damages in an amount to be proved

at trial, together with an additional amount at least equal thereto as punitive damages, and for such

additional relief that this Court deems just and appropriate.

                                            COUNT IX

              (Against Ancel, Rose and Doe Defendants 1-20 for Civil Conspiracy)

       179.     Karum incorporates by reference the allegations of paragraphs 1-178 above.

       180.     As set forth above, Ancel and the Doe Defendants conspired and agreed to engage

in a coordinated tortious campaign against Karum, personally, with the express purpose of causing

her to suffer financial injury and emotional distress.

       181.     Ancel and the Doe Defendants took acts, described above, in furtherance of the

referenced conspiracy.

       182.     Karum has suffered economic loss and reputational harm as a direct and proximate

result of the referenced conspiracy.

       183.     Ancel, Rose and the Doe Defendants acted willfully, justifying an award of punitive

damages to punish them and dissuade them from engaging in such tortious conduct in the future.

       WHEREFORE, Karum prays for judgment in her favor and against Ancel, Rose and the

Doe Defendants as to Count IX, and an award of compensatory damages in an amount to be proved

at trial, together with an additional amount at least equal thereto as punitive damages, and for such

additional relief that this Court deems just and appropriate.


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                                           COUNT X

                             (Against Rose for Breach of Contract)

       184.     LFP incorporates by reference the allegations of paragraphs 1-183 below.

       185.     Rose entered into a contract with LFP to create, write, produce, film, and edit a

demo scene for her (the “Demo Agreement”). A copy of the Demo Agreement is submitted

herewith as Exhibit F.

       186.     Per the terms of the Demo Agreement, Rose agreed to, among other things, refrain

from committing any act “which might tend to bring [LFP,] its members or owners into public

disrepute, scandal or ridicule, or which might tend to reflect unfavorably on the company…or to

injure the success of [LFP].”

       187.     In 2021, Rose published a glowing review of LFP for its work on completed her

demo scene.

       188.     In 2023, however, and on information and belief, at Ancel’s urging, Rose began to

slander and malign LFP on social media, in express breach of her obligations under the Demo

Agreement.

       189.     As a direct and proximate result of Rose’s breach of the Demo Agreement, LFP has

been injured.




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       WHEREFORE, LFP prays for judgment in its favor and against Rose as to Count X, for

an award of compensatory damages in an amount to be proved at trial, and for such additional

relief that this Court deems just and appropriate.

                                                 JENNIFER KARUM, LFP PICTURES, LLC,
                                                 and THE CURSE, LLC


                                          By: _____________________________
                                                 One of their Attorneys
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    EXHIBIT A
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As of March 9, 2022

Rock City Road Films LLC
c/o Jordan Ancel
________________
________________

Re:     “THE UNSEEN” Producer Agreement

Dear Jordan:

This agreement is made and entered into as of the date written above, by and between The Curse
LLC (“Production Company”) and Rock City Road Films LLC (“Lender”) f/s/o Jordan Ancel
(“Ancel”) concerning Ancel’s services as producer in connection with the feature-length motion
picture presently known as THE UNSEEN (the “Picture”). The parties hereto agree as follows:

1. Employment/Services. Provided Ancel is available when and where reasonably required by
Production Company, Production Company shall engage Ancel as Producer for the Picture, and
Lender and Ancel accept such employment, upon the terms and conditions herein contained.
Ancel shall render all services customarily rendered by producers in the motion picture industry
with respect to the development, pre-production, production and post-production of the Picture
as and when reasonably required by Production Company and in accordance with the terms
hereof, including without limitation, attending all reasonably required pre-production meetings
(which may be via videconference or telephone conference, handling requests of other producers,
attending producer meetings and rendering in-person on-set assistance as needed commencing
one week in advance of principal photography (the “Services”).


2. Term. Ancel’s services hereunder shall commence on or about June 30, 2021 (in accordance
with the pre-production and production schedule as determined by the Production Company in
consultation with Ancel) until and through complete delivery of the Picture including all
delivery requirements provided by any sales agent and/or any applicable distributor. Such
services shall be rendered on a non-exclusive basis during pre-production, exclusive during
principal photography and non-exclusive during post-production on the Picture, provided
however, that any services which Ancel may render for third parties or on Ancel’s own account
during non-exclusive periods shall not materially interfere with the timely performance of
Ancel’s services and obligations hereunder.

3. Compensation.

3.1 As full and complete consideration for all of the undertakings and services of Ancel and all
rights and materials herein purchased, granted and agreed to be granted and upon the condition
Ancel shall fully and faithfully complete all services that may be required hereunder and

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provided that Ancel is not in material uncured breach hereof, Production Company shall pay to
Lender, and Lender and Ancel shall accept, the following: a fee of $5,000 payable as follows:
(a) $2,500 upon the commencement of principal photography on the Picture, April 17, 2022;
(b) $2,000 upon commencement of June 06, 2022 photography on the Picture (c) $500 upon
delivery of the final cut of the Picture to Production Company in accordance with the
requirements of the sales agent and/or distributor(s) of the Picture. Lender and Ancel
acknowledge and agree that the fee pursuant to this section 3.1 is on a “flat fee” basis and
that neither Lender nor Ancel shall be entitled to any additional and/or so-called “overage”
compensation for any services rendered by Ancel in connection with the Picture. No additional
payments shall be or become payable to Lender Ancel for Ancel’s rendering of services on
behalf of the Picture at night, on weekends, or during holidays except as otherwise set forth
herein.

3.2 In addition to the Compensation as contained in 3.1 above and upon the condition Ancel shall
fully and faithfully complete all services that may be required hereunder and provided that
neither Lender nor Ancel is in material uncured breach hereof, Lender shall be entitled to receive
Three Percent of One Hundred Percent (3% of 100%) of the “Net Profits” of the Picture, if any.
The timing, manner of payment and definition of Net Profits (attached hereto as Exhibit A) will be
no less favorable than that accorded to any other individual or entity receiving a share of Net
Profits on the Picture.

3.3 Nothing herein shall be deemed to obligate Production Company to use Ancel’s services, or
the results of such services in the Picture, to produce, release or distribute the Picture or to
continue the release and distribution of the Picture if released or to otherwise exploit any rights
granted to Production Company hereunder. Production Company shall have fully discharged its
obligations hereunder by payment to Lender of the compensation as set forth herein.

4. Credit. In the event that the Picture is produced by Production Company and provided Ancel
performs all of his material services hereunder and that neither Lender nor Ancel is in material
uncured breach hereof, Production Company shall accord Ancel a “Producer” credit on-screen
on either no less than the single third producers’ card or, at Production Company’s discretion,
the second producers card, shared only with Ryan Atkins, in the main titles on all positive and/or
digital prints of the Picture. Such credits shall be of the same size, type, duration, manner of
placement and boldness as all other similar credits and shall appear wherever and whenever any
other similar credits on the Picture appear or are otherwise listed. All other matters relating to
credit shall be determined by Production Company in its sole and exclusive discretion and
subject to the standards and operating policies and practices as established and determined by the
network, studio or similar party. No inadvertent or casual failure by Production Company or any
failure by a third party to accord the credit provided herein shall be deemed a breach of this
Agreement.

5. Use of Name, Voice and Likeness. Lender and Ancel agree that Production Company shall
have the right, but not the obligation, to use Ancel’s name, approved voice and approved
likeness, such approval not to be unreasonably withheld or delayed, in and in connection with the
Picture and/or any other use or exploitation of the results and proceeds of Ancel’s Services
hereunder, and in connection with the advertising (including without limitation, trailers),

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exhibition and/or other exploitation of any of the foregoing including commercial advertising
and publicity tie-ups relating thereto provided, however, that no such use in connection with
commercial advertising or publicity tie-ups other than in connection with the Picture shall be
permitted without Ancel’s prior written consent. Ancel agrees that Production Company shall
have the sole and exclusive right to issue publicity concerning Ancel with respect to the Services
hereunder provided that no use by Production Company of Ancel’s name in connection with the
Picture shall be in any way derogatory or defamatory.


6. Results and Proceeds of Services. Lender and Ancel understand and agree that Ancel is
being employed on a work-for-hire basis (as that term is understood under Title 17 of the U.S.
Code as the same may be amended from time to time), and that Production Company shall solely
and exclusively own, and Lender and Ancel hereby transfer to Production Company, all rights,
titles and interests in and to the Picture and all results and proceeds thereof and of all of Ancel’s
work product hereunder and otherwise associated with the Picture, in whatever stage of
completion as may exist from time to time, including but not limited to all rights of whatever
kind and character, throughout the universe, in perpetuity, in any and all languages, of copyright,
trademark, patent, production, manufacture, recordation, reproduction, transcription, distribution,
recreation, copying, performance, broadcast and exhibition by any art, technology, method or
device now known or hereafter devised, including without limitation, radio broadcasting,
electronic and/or digital download or streaming via the Internet or any other platform,
technology or device now known or hereafter devised; theatrical and non-theatrical exhibition;
and television exhibition or otherwise, whether such results and proceeds consist of literary,
dramatic, musical, motion picture, digital, electronic, mechanical or any other form of works,
themes, ideas, compositions, creations or products. Production Company’s acquisition hereunder
shall also include all rights generally known in the field of literary and musical endeavor as the
“moral rights of authors” in and/or to the Picture and any musical and/or literary proceeds of
Ancel’s Services. Production Company shall have the right but not the obligation with respect to
the Picture and the results and proceeds thereof, to add to, subtract from, change, arrange, revise,
adapt, rearrange, make variations of,, modify, market, exploit and/or translate the same into any
and all languages, change the sequence, change the characters and the descriptions thereof
contained therein, change the title of same, record and photograph the same with or without
sound, including spoken words, dialogue and/or music synchronously recorded, use said title or
any of its components in connection with works or motion pictures wholly or partially
independent thereof in new versions, adaptations, prequels, sequels and/or spin-offs in any and
all languages and to obtain, register and renew copyright therein in Production Company’s name
throughout the universe. Lender and Ancel hereby expressly waive any and all rights which
Lender and/or Ancel may have either in law, in equity or otherwise which Ancel may have or
claim to have as a result of any alleged infringements of Ancel’s so-called “droit moral” or
“moral rights” of authors. Lender and Ancel acknowledge that the results and proceeds of
Ancel’s Services shall be considered to be works made for hire for Production Company and
therefore, Production Company shall be the sole author and copyright owner of the results and
proceeds of Ancel’s Services hereunder. Notwithstanding the foregoing, if the Picture is
determined not to be a work made for hire, whether by a court of competent jurisdiction or
otherwise, any and all rights, titles and interests including without limitation the copyright and
any renewal rights in and to the Picture and all of the results and proceeds of Ancel’s Services

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hereunder shall be deemed to have been transferred, conveyed and assigned to Production
Company on the same terms as described above. All rights granted or agreed to be granted to
Production Company hereunder shall vest in Production Company immediately and shall remain
vested and survive whether this Agreement expires in normal course or is terminated for any
cause or reason. Lender and Ancel acknowledge and agree that Ancel acquires no rights, titles or
interest in or to the Picture or any portion thereof under this Agreement and/or from or as a result
of any Services provided by Ancel hereunder. Lender and Ancel hereby irrevocably assign,
license and grant to Production Company exclusively throughout the universe and in perpetuity,
the rights, if any, of Lender and/or Ancel to authorize, prohibit and/or control the renting,
lending, fixation, reproduction and/or other exploitation of any motion picture produced based on
the Picture (or any rights therein) by any and all media and means now known or hereafter
devised as may be conferred upon by Lender and/or Ancel under applicable laws, regulations or
directives including without limitation any so-called “Rental Lending Rights” pursuant to any
European Union or successor entity (the “EU”) or pursuant to any individual (non-U.S.)
country’s directives and/or enabling or implementing legislation, laws or regulations enacted by
the EU or such individual country.

7. Indemnity: Lender and Ancel will indemnify and hold harmless Production Company, its
successors and assignees, from and against any and all damages, costs, expenses, liabilities,
claims and causes of action in any way arising by reason of the breach of any warranty or
representation by Lender and/or Ancel hereunder or any other provision in this Agreement
including, without limitation, reasonable outside attorneys’ fees and costs in the defense and
disposition of such matters. Likewise, Production Company will defend, indemnify and hold
harmless Lender and Ancel, their successors and assignees, from and against any and all
damages, costs, expenses, liabilities, claims and causes of action in any way arising by reason of
the breach of any warranty or representation by Production Company hereunder or any other
provision in this Agreement and the development, production and exploitation of the Picture,
including, without limitation, reasonable outside attorneys’ fees and costs in the defense and
disposition of such matters.

8. Insurance. At Production Company’s expense, Production Company may secure life,
accident, cast or other insurance on Ancel and Ancel shall furnish such information, fill out and
sign such forms, and undergo such physical examinations as reasonably may be required. The
proceeds and ownership of such insurance shall be solely Production Company’s, and Ancel
shall not have any right, title or interest therein.

9. Remedies. Lender and Ancel acknowledge and agree that the sole remedy available to them
for Production Company's breach of or non-compliance with any of the provisions of this
Agreement shall be an action at law for damages and in no event shall Lender and/or Ancel seek
or be entitled to injunctive or other equitable relief for any such breach or non-compliance of this
Agreement.

10. Representations and Warranties. Lender and Ancel represent and warrant that they have
the right and power to enter into and fully perform this agreement and that she has not done and
will not do anything which may impair any of the rights granted to Production Company.
Lender and Ancel warrant and represent that the results and proceeds of Ancel’s Services

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hereunder shall be wholly original to Ancel except to the extent based on material in the public
domain and, to the best of Lender and Ancel's knowledge, shall not infringe upon or violate the
copyright, right of privacy, right against defamation, right of publicity, or any other personal or
proprietary right of any person.

11. Suspension and Termination: Upon written notice to Lender and/or Ancel (which may be
given by email) Ancel’s Services and the accrual of compensation hereunder shall be suspended
during all periods of Force Majeure (as defined in section 13 below) and/or when:

       (a) Ancel's Incapacity: If, by reason of mental or physical disability, Ancel shall be
       unable to perform or comply with any of his respective duties or the applicable terms or
       conditions hereof (“Incapacity”) for more than five (5) days in the aggregate during the
       principal photography of the Picture, or more than two (2) weeks in the aggregate during
       any time during the Term.

       (b) Termination: The Term is not guaranteed and may be terminated by Production
       Company as follows without any further obligation to Ancel except as set forth in this
       Paragraph 11(b), Production Company may terminate this Agreement and the Term
       hereof for “Cause”, which, as used herein, shall mean for a reason stated in Paragraph
       11(b)(i) or 11(b)(ii) below, whereupon Production Company may terminate this
       Agreement at any time up until the completion of all Services provided hereunder,
       including all of Ancel’s obligations and liabilities hereunder, upon written notice to
       Ancel. Alternatively, Production Company may terminate this Agreement and the Term
       hereof without Cause and without any further obligation to Ancel other than its obligation
       hereunder to pay Lender any Fees accrued and otherwise payable solely through the date
       prior to such termination in accordance with the terms of this Agreement. Except as
       provided above, Production Company shall have no further obligations to Lender and/or
       Ancel in the event of any termination hereof. The provisions of this Paragraph 12 are in
       addition to and not exclusive or in limitation of any other rights or remedies Production
       Company may have under this Agreement or at law or in equity.

               (i) Of an Incapacity subject to the provisions of Section 11(a); or

               (ii) If Ancel fails or refuses to perform or comply with any terms or conditions
               hereof other than by reason of Incapacity ("Default"), then prior to termination of
               this Agreement by Production Company based upon Default, Production
               Company shall notify Ancel in writing, specifying the nature of the Default, and
               Ancel shall have 24 hours after receipt of such notice to cure the Default. If the
               Default is not cured within the 24 hour period, Production Company may
               terminate this Agreement forthwith. Default shall not include any failure or
               refusal of Ancel to perform or comply with the material terms and conditions of
               this Agreement by reason of illness or incapacity of third parties, a Force Majeure
               Event as defined below, or a breach or action by Production Company which
               makes the performance by Ancel of the Services impossible, and Ancel shall set
               out in writing to Production Company within 24 hours of receipt of written notice



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               of termination for Default the basis of its reason (and justification therefor) for
               such breach or action or such termination shall become final.

       (c) Further Effect Of Termination: Subject to limitations otherwise provided herein, and
       whereby Ancel has not been terminated for Cause, termination of this Agreement,
       Ancel’s right to indemnification and insurance coverage shall survive termination hereby.

       (d) Effect of Suspension: If any Force Majeure, Incapacity or Default should occur prior
       to the commencement of principal photography, the commencement of principal
       photography may be postponed by Production Company for a period equal to the
       duration of such Force Majeure, Incapacity or Default, not to exceed six (6) months in the
       aggregate and such postponement shall not be deemed a suspension of this Agreement or
       Ancel’s Services; provided, that Production Company may reduce the period of
       postponement in Production Company’s own discretion upon notice thereof to Lender
       and/or Ancel. In the case of such a suspension, Production Company agrees to
       meaningfully consult with Ancel regarding the rescheduling of the production period so
       long as Ancel’s scheduling requirements result in no more than reasonable and non-
       material additional added expense for Production Company. Any suspension shall be for
       the duration of any such Force Majeure, Incapacity or Default plus such reasonable
       period of time as may be reasonably deemed necessary by Production Company to
       commence or recommence pre-production, production, or post-production of the Picture.
       A suspension shall not relieve Lender and/or Ancel of any of Ancel’s obligations to
       perform hereunder.

12. Force Majeure Event. If, by reason of fire; earthquake; war; riot; labor dispute, pandemic,
lock-out or strike; act of God or public enemy; accident; civil disturbance; law, enactment, rule,
regulation, restraint, order or act of any governmental instrumentality or military authority;
failure or inability to obtain any necessary permit or license; failure of technical facilities;
inability to obtain sufficient labor, technical or other personnel (including without limitation cast
or crew members); failure, delay or reduction in transportation facilities or water, electricity or
other public utilities; death, disability or disfigurement (with respect to cast only), or
unavailability of or inability to obtain life, accident, cast, or health insurance for, a principal cast
member, the director, any other producer or key crew member or inability to obtain visas, labor
permits or other governmental licenses for any such persons; or other cause beyond Production
Company's control or which Production Company could not by reasonable due diligence have
avoided, Production Company is prevented from or hampered in the development or production
of the Picture, or if, Production Company's production of the Picture is postponed or suspended
by reason of the closing of the production facility at which Production Company intends to film
the Picture or because substantially all the theatres in the United States close or cease to exhibit
motion pictures for any reason, or if, by reason of any of the aforesaid contingencies or any other
cause or occurrence outside Production Company's control, the preparation, commencement,
production or completion of the Picture is hampered, interrupted or interfered with, or if
Production Company's normal business operations are hampered or otherwise interfered with by
virtue of any disruptive events which are beyond Production Company's control (each a "Force
Majeure Event"), then Production Company may postpone the commencement of or suspend the
rendition of Services by Ancel and the running of time hereunder for such time as the Force

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Majeure Event shall continue and no compensation shall accrue or become payable to Lender
hereunder during the period of such suspension.

13. Covid Protocols. Lender and Ancel acknowledge and agree that Ancel and all of Ancel’s
Production Company-approved guest(s) (if any) shall comply with all of Production Company’s
reasonable production guidelines, procedures, and protocols (including, without limitation,
compliance and execution of Exhibits B and C, attached hereto and incorporated herein by this
reference, and compliance with and execution of all of Production Company’s COVID-19 safety
and production guidelines, procedures, and protocols).

          a. COVID-19 Required Disclosures: In addition to the above, Ancel acknowledges
             and agrees that it is of the essence of this Agreement that Ancel
             IMMEDIATELY notify (and requires all of Ancel’s Company-approved guest[s]
             to immediately notify) Production Company in writing in the event Ancel and/or
             Ancel’s Production Company-approved guest(s) know or have a good faith reason
             to believe any of the following has occurred (and to follow all CDC, government,
             legal, and medical orders, statutes, guidelines, and requirements in connection
             thereto [including, without limitation, mandated self-quarantine and isolation]):

                  i. Ancel and/or Ancel’s Production Company-approved guest(s) experiences
                     or has experienced symptoms commonly associated with COVID-19 (or
                     mutations thereto) any time prior to, during, or within fourteen (14) days
                     after providing services in connection with the Project and/or visiting the
                     set and/or any other production location for the Project; or

                 ii. Ancel and/or Ancel’s Production Company-approved guest(s) tests
                     positive for or is diagnosed with COVID-19 (or a mutation thereof) at any
                     time prior to, during, or within fourteen (14) days after providing services
                     in connection with the Project and/or visiting the set and/or any other
                     production location for the Project; or

                 iii. Ancel and/or Ancel’s Production Company-approved guest(s) are apprised
                      of facts or have good faith reason to believe that Ancel and/or Ancel’s
                      Production Company-approved guest(s) has come into contact with
                      someone with a confirmed case of COVID-19 (or mutation thereof) or has
                      symptoms commonly associated with COVID-19 at any time prior to,
                      during, or within fourteen (14) days after providing services in connection
                      with the Project and/or visiting the set and/or any other production
                      location for the Project.

Violation by Ancel and/or Ancel’s guest(s) of this Paragraph 13 shall be deemed a material
breach of this Agreement. Additionally, any failure by any of Ancel’s Production Company-
approved guest(s) (if any) to comply with this Paragraph 14 shall result in the immediate
removal of any such guest(s).




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14. Assignment.        Production Company shall have the right to assign this Agreement to third
parties for the production of the Picture and/or shall have the right to loan Ancel’s services out to
such third party production company for the production of the Picture. Upon such assignment,
and on the condition that such third party production company assumes all of Production
Company’s obligations to Ancel herein in writing, Production Company shall be relieved of its
obligations to Ancel hereunder.

15.     Choice of Law. This Agreement will be governed by the internal substantive laws of the
State of Illinois and the Federal laws of the United States applicable to agreements executed and
to be wholly performed herein and will not be modified except by written amendment signed by
both parties hereto.

16. Entire Agreement. This Agreement contains the full and complete understanding between
the parties with reference to the within subject matter, supersedes all prior agreements and
understandings whether written or oral pertaining thereto, and cannot be modified except by
written instrument signed by each party. Ancel acknowledges that in entering into this
Agreement Ancel has not relied on any representation not expressly contained herein.

Very truly yours,


_____________________________
The Curse LLC
By:
Its:


AGREED TO AND ACCEPTED


___________________________
Rock City Road Films LLC
By: Jordan Ancel
Its: Authorized Representative




                                           ARTIST’S INDUCEMENT

        In order to induce The Curse LLC (“Production Company”) to enter into the foregoing agreement with
Rock City Road Films LLC ( “Lender”), and for other good and valuable consideration, receipt of which is hereby
acknowledged, the undersigned hereby consents and agrees to the execution and delivery of said agreement by
Lender and hereby agrees to render all the required, material services therein provided to be rendered by the
undersigned, to grant all the rights granted therein and to be bound by and duly perform and observe each and all of
the terms and conditions of said agreement regarding performance or compliance on the undersigned’s part, and

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hereby joins in all warranties, representations, agreements and indemnities made by Lender and further confirms the
rights granted to Production Company under said agreement and hereby waives any rights of droit moral or similar
rights which the undersigned may have. The undersigned further waives any claim against Production Company for
wages, salary or other compensation of any kind paid to Lender (f/s/o the undersigned) pursuant to said agreement
or in connection with the motion picture and the exercise by Production Company of rights therein or derived
therefrom (provided, however, that such waiver shall not relieve Production Company of any of its obligations to
Lender under said agreement), and, unless the undersigned is deemed substituted as a direct party hereto, the
undersigned agrees to look solely to Lender for any and all compensation that the undersigned may become entitled
to receive in connection with the said agreement.

Dated as of March 1, 2022



____________________________
Jordan Ancel




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                                  CERTIFICATE OF ENGAGEMENT

Reference is hereby made to that certain motion picture presently entitled "The Unseen" ("Picture") for
which Jordan Ancel (“Ancel”) is to perform certain services as a producer as further specified in and
subject to the long form agreement (the "Agreement") currently being negotiated between Rock City
Road Films LLC and The Curse LLC ("Production Company").

Lender and Ancel, for good and valuable consideration, receipt of which is hereby acknowledged, hereby
certifies and agrees that (i) all of the results and proceeds of the services of every kind heretofore rendered
by and hereafter to be rendered by Ancel in connection with the Picture, including, without limitation, any
performance by Ancel and (ii) all ideas, suggestions, dialogue, plots, themes, stories, characterizations
and any other material, whether in writing or not in writing, at any time heretofore or hereafter created or
contributed by Ancel which in any way relate to the Picture or to the material on which the Picture will be
based (collectively, "Material") are and shall be deemed works "made-for-hire" for Production Company.
Ancel further acknowledges, certifies and agrees that as between Ancel, on the one hand, and Production
Company, on the other, Production Company is and shall be deemed the sole author and/or exclusive
owner of all of the Material for all purposes and the exclusive owner throughout the universe of all of the
rights comprised in the copyright thereof, and of any and all other rights thereto ( collectively, "Rights"),
and that Production Company shall have the right to exploit any or all of the foregoing in any and all
media, now known or hereafter devised, throughout the universe, in perpetuity, in all languages as
Production Company determines. If under any applicable law the Material is not deemed or otherwise
considered a work “made-for-hire” for Production Company, then to the fullest extent allowable and for
the full term of protection otherwise accorded to Ancel under such applicable law (including any and all
renewals, extensions and revivals thereof), Ancel hereby assigns and transfers to Production Company the
Rights and, in connection therewith, any and all right, title and interest of Ancel in the Picture and any
other works now or hereafter created containing the Material. Ancel will, upon request, execute,
acknowledge and deliver to Production Company such additional documents consistent herewith as
Production Company may reasonably deem necessary to evidence and effectuate Production Company's
rights hereunder, and hereby grant to Production Company the right as attorney-in-fact solely to execute,
acknowledge, deliver and record any and all such documents if Ancel shall fail to execute same within
five (5) business days after receipt from Production Company. Production Company shall promptly
provide Ancel with copies of any such documents, provided that the inadvertent failure of Production
Company to do so shall not be deemed a breach of this Certificate of Engagement or of the Agreement
nor shall it affect the validity or effectiveness of such documents. Ancel hereby grants Production
Company the right to change, add to, take from, translate, reformat or reprocess the Material in any
manner Production Company may in its sole discretion determine.

Lender and Ancel warrant that except as contained in material furnished to Ancel by and/or at direction of
Production Company, all literary, dramatic, musical and other material and all ideas, designs and
inventions of Ancel in connection with the Picture are or will be original with Ancel or in the public
domain throughout the world, shall not infringe upon or violate any copyright of, shall not, to the best of
Ancel’s knowledge upon Ancel’s exercise of due diligence, infringe upon or violate the right of privacy
or any other right of any person and, are not the subject of any litigation or claim that might give rise to
litigation, and that Ancel is free to grant all rights granted and make all agreements made by Ancel herein.
Ancel agrees to hold Production Company and its successors, licensees and assigns harmless from and
against all damages, losses, costs, and expenses (including reasonable outside attorneys' fees and costs)
which Production Company or any of its successors, licensees or assigns may suffer or incur by reason of
any uncured material breach of any of the warranties made in this paragraph.


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Production Company hereby agrees to defend and indemnify and hold Ancel and against all liabilities,
penalties, losses or expenses, including reasonable outside attorney's fees, imposed upon, sustained or
incurred by Ancel arising out of the development, production, distribution, and exploitation of the Picture
or any element thereof, except to the extent such claims, judgments, losses, expenses, and liabilities arise
from Ancel’s intentionally tortious acts or omissions, fraud or felony criminal matters, or which arise out
of the breach of any of Ancel’s material warranties, representations, agreements or obligations hereunder.

In the event of any breach by Production Company of the Agreement, the sole remedy of Ancel shall be
an action for money damages, and Ancel shall not have any right to enjoin, restrict or otherwise interfere
with Production Company's rights in the Material. Production Company may assign this Certificate
(including, without limitation, any or all of its rights and obligations hereunder) to any person or entity
without imitation.

Executed as of March ___, 2022




__________________________                           _________________________
ROCK CITY ROAD FILMS LLC                             THE CURSE LLC
BY: JORDAN ANCEL                                     BY:
ITS: AUTHORIZED REPRESENTATIVE                       ITS: AUTHORIZED REPRESENTATIVE



___________________________
JORDAN ANCEL, Individually




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                                            EXHIBIT A

                                           NET PROFITS!

"Net Profits" shall be defined as gross receipts actually received by Production Company, its
affiliates, licensees and assigns in connection with the worldwide licensing, sale, distribution
and/or other exploitation of the Picture and/or any ancillary and/or subsidiary rights thereto in
perpetuity in any and all media and all rights in connection therewith remaining, if any, after the
deduction of only the following: (a) all actual, direct, verifiable, out of pocket, unaffiliated third
party costs, charges, expenses and liabilities reasonably incurred in connection with the
acquisition, preparation, development, production, completion and delivery of the Picture,
including without limitation, repayment of an amount equal to 120% of the financiers’ at-risk
capital contributions to the Production Company in connection with the Picture; (b) actual,
direct, verifiable, out-of-pocket, unaffiliated third party distribution fees not previously charged
or retained by the distributor(s); (c) actual, direct, verifiable, out-of-pocket, unaffiliated third-
party distribution costs as charged to Production Company by distributor(s); (d) payments in
connection with any deferrals or bonuses in connection with the Picture; (e) any actual, direct,
verifiable, out-of-pocket unaffiliated third party collection fees and expenses charged by the
collection agent for the Picture, if any; (f) actual, direct, verifiable, unaffiliated third-party out-
of-pocket sales expenses and sales fees payable to the foreign and domestic sales agents for the
Picture; (g) guild and union residuals payable in connection with the exploitation of the Picture,
to the extent such residuals are not assumed by any third party distributor of the Picture; and (h)
payment of any outstanding loans to the Production Company (including loans from affiliates of
the Production Company) in connection with the financing of the Picture (including any interest
thereon actually charged to Production Company) for the conduct of the authorized business of
the Production Company in connection with the Picture, including but not limited to any loans in
connection with the monetization of the Picture tax credits, whether or not payment is then due.
All reasonable, third party, direct and customary "off-the-tops" (e.g. bank fees,) incurred in
connection therewith shall also be deducted off-the-top from Net Profits. Notwithstanding the
foregoing, there shall be no cross-collateralization or double deductions of any kind, and no
charges or deductions for Production Company overhead or administrative fees.




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                                             EXHIBIT B
                                 THE CURSE LLC / “THE UNSEEN”
                            Health & Safety Acknowledgment and Agreement

Name: Jordan Ancel
Phone: (310) 704-8804
Address: 528 N Vista Street
Email: Jordan@JordanAncel.com

By signing each section of the Health and Safety Acknowledgment and Agreement, you acknowledge and
represent that you have read it, understand it and sign it voluntarily; you are sufficiently informed about the
risks involved in participation in this production; no oral representations, statements, or inducements, apart
from the foregoing written agreement, have been made; you are at least eighteen (18) years of age and fully
competent; and you execute this document for full, adequate, and complete consideration fully intending to be
bound by the same.

                                      STATEMENT OF HEALTH
Known symptoms of COVID-19 include the following:
   • Cough
   • Shortness of breath or difficulty breathing
   • Fever
   • Chills
   • Fatigue
   • Muscle pain or body aches
   • Headache
   • Sore throat
   • New loss of taste or smell
   • Congestion or runny nose
   • Nausea or vomiting
   • Diarrhea

You acknowledge that you are not currently, or in the past seven (7) days, have suffered from any known
COVID-19 related symptoms.

You acknowledge that you have not (as far as you are aware) been in contact with anyone with COVID-19
symptoms within the previous fourteen (14) days.

You acknowledge that you have not (as far as you are aware) been in contact with anyone diagnosed with
COVID-19 within the previous (14) days.

You acknowledge that you are not currently under advisement by a health care provider to shelter-at-home due
to COVID-19 and/or that you have not been instructed to self-isolate within the previous fourteen (14) days.

You agree not to report to set unless the results of a test for COVID-19 has been received within forty-eight
(48) hours prior to commencement of services.

You acknowledge that you will alert the safety coordinator immediately about any onset of symptoms or
contact with anyone who has symptoms of COVID-19.

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You accept that you will be asked to restate your confirmation of the above, verbally, to the safety coordinator
at the beginning of each day on set, as well as may be requested to submit to a contactless temperature reading.

Furthermore, you agree to self-monitor for symptoms fourteen (14) days after completion of filming and will
inform production of any onset of symptoms or confirmed positive COVID-19 test.


SIGNATURE
PRINT NAME:            Jordan Ancel                         DATE:      5/31/2022




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                                                EXHIBIT C
                                       Safety Guidelines and Set Rules

CONFIRMATION OF ADHERENCE TO SAFETY GUIDELINES / SET RULES

You acknowledge that you have read the Safety Guidelines / Set Rules below.

You agree to follow these Guidelines and Rules and all other applicable health and safety protocols. Any
actions that constitute violation of the guidelines will result in your being asked to leave set immediately, and
may result in the termination of future employment on the Project.




                                                                        5/31/2022
SIGNATURE
                        Jordan Ancel
PRINT NAME:                                                  DATE:

SAFETY GUIDELINES / SET RULES
Our goal is to provide a working environment for our cast and crew whereby risk of transmission of
COVID-19 (or other viruses) is as low as possible.

This requires honesty, understanding, patience, and vigilance among the entire cast and crew. Anyone
violating these rules will be asked to leave set immediately.

MONITORING FOR SYMPTOMS
It is vital that cast and crew self-monitors for symptoms commonly associated with COVID-19. If you are
feeling sick, or have any of the known symptoms of a COVID-19 related illness listed below, alert the
safety coordinator immediately and depart from the shoot immediately. Known COVID-19 related
symptoms include the following:
     o Cough
     o Shortness of breath or difficulty breathing
     o Fever
     o Chills
     o Muscle pain or body aches
     o Headache
     o Sore throat
     o New loss of taste or smell
     o Congestion or runny nose
     o Nausea or vomiting
     o Diarrhea

DISTANCING
    o   Stay six (6) or more feet away from other members of the cast and crew at all times when able.
        Verbally communicate before coming within shorter proximity of another cast or crew member and do
        not rush between areas of set, to not risk physically running in to another person.

SHARED SPACES & SURFACES
    o   Use gloves when touching equipment or surfaces shared with other members of the cast and crew.
        When gloves are used, they should be safely removed by rolling them inside out and off the hand from
        the wrist down to the fingertips, and should be safely and immediately disposed of in the trash. Crew
        Members should avoid removing gloves by pulling them off at the fingertips and should always wash

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       their hands after removing gloves.
   o   Use your elbow or knuckle as opposed to fingers when possible.
   o   Do not use other people’s phones or personal work tools.

GENERAL PRACTICES
   o   Wash hands frequently, especially after removing gloves, before & after sanitizing equipment, before
       & after eating.
   o   If soap is not readily available, use hand sanitizer that is provided on set.
   o   Wear a face covering, whenever possible but particularly when around other individuals.
   o   Avoid touching your face.
   o   Observe respiratory etiquette, including, without limitation, covering coughs and sneezes with your
       elbow or disposable tissue(s).
   o   Keep all personal belongings in the designated area on set.
   o   Food, dishes, and utensils should not be shared. Crew Members should use disposable utensils and
       dishes, and each person is responsible for disposing of his or her own trash.
   o   If bringing your own mask, wash it daily and consider replacing or covering with a disposable mask
       for the length of the shoot.

No Retaliation and Interactive Process

   o   The Curse LLC will engage in the interactive process in good faith and will not retaliate against any
       Crew Member who inquires about his or her rights with respect to safety and/or accommodation of
       any disability or medical condition.
   o   Cast and crew members may report violations of any applicable guidelines, rules, or protocols related
       to COVID-19 or that a colleague is exhibiting signs of illness or symptoms of COVID-19 without fear
       of retaliation.
   o   The Curse LLC will treat your private health and personal data with high confidentiality and
       sensitivity and according to the law.




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                       NON-DISCLOSURE AGREEMENT
THIS CONFIDENTIALITY AND NON-DISCLOSURE AGREEMENT (this “Agreement”) is made
                        6 May 2021
and entered into as of ____________________      (the “Effective Date”) by and between
Lakefront    Pictures    and       Jordan  Ancel  International, LLC
                                 ____________________________________________          (the
“Recipient”). This agreement covers proprietary information belonging to Lakefront (the
"Discloser") that is made available or disclosed to the Recipient.

1. PROJECT. This Agreement is intended to prevent the unauthorized disclosure of Confidential
Information (as defined below) regarding any and all Lakefront productions (the “Subject
Matter”).

2. CONFIDENTIAL INFORMATION. Confidential Information includes, but is not limited to,
ideas exchanged during Lakefront writers breakout meetings, treatments written in preparation
for any Lakefront production, scripts written in preparation for any Lakefront production, or story
boards, synopsis, summaries, screenplays, pitches, documentation, and correspondences, all
rights to which are owned or controlled by Discloser, that have not otherwise been made
publicly available by the Discloser (“Creative Confidential Information”). Confidential
Information shall also include, but not be limited to documents, records, information and data
(whether verbal, electronic or written), drawings, models, apparatus, sketches, designs,
schedules, product plans, marketing plans, technical procedures, analyses, compilations,
studies, methodologies, formulations, know-how, and other business information, relating to
Creative Confidential Information and to Lakefront’s business, assets, operations or contracts,
furnished to Recipient and/or Recipient’s affiliates, employees, officers, owners, agents,
consultants or representatives, in the course of their work contemplated in this Agreement,
regardless of whether such Confidential Information has been expressly designated as
confidential or proprietary. Confidential Information also includes any and all analyses,
compilations, work product, studies and other data or material prepared by or in the possession
or control of the Recipient, which contain, include, refer to or otherwise reflect or are generated
from any Confidential Information. Confidential Information may be provided in written, oral,
electronic or other form. Recipient acknowledges that no representation or warranty, express or
implied, has been or is made by or on behalf of Lakefront as to the accuracy or completeness of
any of the Confidential information furnished to the Recipient.

3. EXCLUSIONS. Confidential Information, however, does not include information: (a) generally
available to the public through no wrongful act of Recipient and/or through no breach of any
obligation to Lakefront; (b) rightfully in the possession of the Recipient prior to Lakefront’s
disclosure of such information to Recipient; (c) independently developed without the use of any
of the provided Confidential Information, (d) rightfully received from a third party who is not
subject to restrictions on the use and disclosure of such information in favor of Lakefront, or (e)
approved for release by written authorization from Lakefront; provided that, unless notice of said
prior knowledge and possession or receipt from a third party is given to Lakefront within thirty
(30) days of receipt of the information from Lakefront or from a third party, respectively, it shall

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be conclusively presumed that the said information was not previously in the Recipient’s
knowledge and possession or received from a third party.

4. FORM OF DISCLOSURE. Confidential Information may be oral, visual, or by demonstration,
or in some other form not permanently recorded, and shall be considered Confidential
Information regardless of whether such Confidential Information has been expressly designated
as confidential or proprietary.

5. PERIOD OF CONFIDENTIALITY AND NON-USE. Recipient (including its affiliates,
employees, agents and consultants) shall maintain in strict confidence for a period of five (5)
years from the Effective Date and not disclose any Confidential Information it receives from
Lakefront to any third party or use the Confidential Information for its own or any other party’s
benefit, except in furtherance of its obligations to Lakefront pursuant to any business transaction
it may enter into with Lakefront. Recipient shall use, as a minimum, the same degree of care to
avoid disclosure or use of the Confidential Information as it employs with respect to its own
confidential, proprietary and secret information of like importance, but in any case using no less
than a reasonable degree of care. Recipient shall limit access to all Confidential Information to
only those of Recipient’s personnel, agents and representatives who need to know such
information for carrying out Recipient’s obligations to Lakefront. Recipient shall insure that its
affiliates, employees, officers, directors, owners, agents, consultants, and representatives who
are given access to the Confidential Information by or on behalf of Recipient shall be bound by
and shall comply with the terms of this Agreement.

5. DISCLOSURES REQUIRED BY LAW. In the event Recipient is requested or required by a
government or court order, or similar process, to disclose any Confidential Information supplied
to it by Lakefront, Recipient shall provide Lakefront with prompt notice of such request so that
Lakefront may seek an appropriate protective order and/or waive Recipient’s compliance with
the provisions of this Agreement.

6. INDEMNIFICATION. Recipient shall reimburse, indemnify and hold harmless Lakefront and
its affiliates, owners, employees, officers, directors, agents and representatives from any
damage, loss, penalty, cost or expense incurred by Lakefront as a result of or in connection with
the use or disclosure of the Confidential Information contrary to the terms of this Agreement by
Recipient or its affiliates, employees, directors, officers, owners, consultants, agents or
representatives or any others to whom such Confidential Information has been disclosed by any
such persons or entities. The term “affiliates” as used in this Agreement shall mean any
persons, corporations, partnerships, limited liability companies, or other business entities, which
directly or indirectly control, are controlled by, or are in common control with such party to this
Agreement. As used herein, the term “control” shall mean possession, directly or indirectly, of
power to direct or cause the direction of management or policies (whether through ownership of
securities, by contract or otherwise).

7. NO PUBLIC COMMENT. Recipient shall not directly or indirectly make any public comment,
statement, or communication with respect to, or otherwise disclose or permit the disclosure to

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any third party of any Confidential Information or of any matter relating to the Subject Matter or
purpose or any transactions contemplated by the parties in connection therewith, without the
prior written consent of Lakefront.

8. NOTICE OF UNAUTHORIZED USE OR DISCLOSURE. Recipient shall notify Lakefront
immediately upon discovery of any unauthorized use or disclosure of Confidential Information or
any other breach of this Agreement by Recipient or any third party, and will cooperate with
Lakefront in every reasonable way to help Lakefront regain possession of the Confidential
Information and prevent its further unauthorized use or disclosure.

9. OWNERSHIP AND RETURN OF CONFIDENTIAL INFORMATION. All Confidential
Information disclosed to Recipient shall be and remain the property of Lakefront. Upon
Lakefront’s written request, Recipient shall promptly return all Confidential Information (including
all originals, copies, reproductions and summaries of such Confidential Information), or certify its
destruction in writing, and keep the same confidential and secret in accordance with this
Agreement.

10. NO LICENSE. Nothing contained in this Agreement shall be construed as granting or
conferring to Recipient any rights or license or otherwise, either expressly or by implication, in or
to any Confidential Information disclosed by Lakefront to Recipient as a result of this
Agreement, including, without limitation, rights or license under any present or future copyright,
trademark, service mark, trade secret or other proprietary information owned, licensed or
controlled by Lakefront.

11. SURVIVAL. Recipient’s obligations of non-disclosure pursuant to the terms of this
Agreement shall survive until all Confidential Information has been returned to Lakefront or the
destruction thereof has been certified to Lakefront in writing.

12. RELATIONSHIP. This Agreement shall not be construed as a joint venture, pooling
arrangement, partnership, teaming effort or agency arrangement. The Recipient, unless
otherwise stated in a separate agreement, shall have no ownership interest whatsoever in the
Confidential Information being handed over to them.

13. NO WAIVER. Neither party waives any rights in invention or development lawfully
possessed by it at the time of signing this Agreement. In addition, this Agreement does not
imply any waiver of any rights or action under the trademark, copyright, trade secret, unfair
competition, fair trade or related laws. Failure to enforce any provision of this Agreement shall
not constitute a waiver of any term hereof.

14. BINDING AGREEMENT. This Agreement shall be binding upon Recipient and its
subsidiaries, successors, assigns, legal representatives, and all corporations controlling
Recipient or controlled by Recipient and shall inure to the benefit of Lakefront and its
subsidiaries, successors, assigns, legal representatives, and all corporations controlling
Lakefront or controlled by Lakefront.

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15. INJUNCTIVE RELIEF. Recipient understands and agrees that any use or dissemination of
Confidential Information in violation of this Agreement will cause Lakefront irreparable harm,
and that monetary damages may not be a sufficient remedy for unauthorized use or disclosure
of Confidential Information, and that Lakefront may be left with no adequate remedy at law;
therefore, Lakefront shall be entitled, without waiving any other rights or remedies, to such
injunctive or equitable relief as may be deemed proper by a court of competent jurisdiction.
Such remedies shall not be deemed to be the exclusive remedy for any breach of this
Agreement but shall be in addition to all other remedies available at law or in equity.

16. PREVAILING PARTY. If either party employs attorneys to enforce any rights arising out of
or relating to this Agreement, the prevailing party shall be entitled to recover reasonable
attorneys' fees and expenses.

17. GOVERNING LAW. This Agreement shall be governed by and construed in accordance with
the laws of the State of California without regard to principles of conflict or choice of laws, and
Recipient consents to venue and jurisdiction in and by the state and federal courts in the
jurisdiction of the Lakefront.

18. ASSIGNMENT. This Agreement may not be assigned by Recipient without the prior written
consent of Lakefront.

19. ENTIRE AGREEMENT. This Agreement contains the entire understanding between the
parties relative to the protection of Confidential Information and supersedes all prior and
collateral communications, reports, and understanding between the parties in respect thereto.
No change, modification, alteration or addition to any provision shall be binding unless it is in
writing and signed by an authorized representative of both parties.

20. SEVERABILITY. If a court of competent jurisdiction makes a final determination that any
provision of this Agreement (or any portion thereof) is invalid, illegal or unenforceable for any
reason whatsoever, and all rights to appeal the determination have been exhausted or the
period of time during which any appeal of the determination may be perfected has been
exhausted, (i) the validity, legality, and enforceability of the remaining provisions of this
Agreement shall not in any way be affected or impaired thereby; and (ii) to the fullest extent
possible, the provisions of this Agreement shall be construed so as to give effect to the intent
manifested by the provisions held invalid, illegal or unenforceable.

21. HEADINGS. The headings in this Agreement are for reference purposes only and shall not
limit or otherwise affect the meaning of the provisions.

22. COUNTERPARTS. This Agreement may be executed in one or more counterparts including
signing a facsimile copy. Each counterpart shall be deemed an original and all counterparts
together shall constitute one and the same instrument.


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23. MEDIA POLICY. Recipient is not authorized to release media, footage, pictures and
information to the media, including but not limited to broadcast, networks, print, radio, and social
media, unless Lakefront provides advance written permission. Recipient shall provide Lakefront
with at least seven (7) days notice in order to request such permission. Recipient is authorized
to reshare any content that has been publicly posted by Lakefront or a Lakefront representative.
Recipient is not authorized to share any content posted in the private Lakefront production
Cast/Crew group without prior authorization.

Please initial below.

   JA
_______   1. I understand that if I transmit any audio, video, photo, or text-based content to 3 rd
parties not involved with “Lakefront Pictures”, then all transmitted communications are subject
for review and my involvement could be terminated immediately, and all media will be owned by
Lakefront Pictures, LLC.

   JA
_______ 2. I understand that if I am hired, and am subsequently terminated or voluntarily
resign, I am not to discuss any information about the project, disparage or reveal prejudice
whether deemed factual or opinion to 3rd parties over phone, in person, emails, social media, or
any other electronic form of communication and that any and all imdb credit, and title on
production is at risk and could be forfeited at discretion of owners.

IN WITNESS WHEREOF, the parties hereto have caused their duly authorized representatives
to execute this Agreement as of the Effective Date.

RECIPIENT
         528 N. Vista
Address:___________________________________________________
         Los Angeles, CA 90036
__________________________________________________________

Recipient’s Signature ___________________________

              Jordan Ancel, CEO, Jordan Ancel Interntional, LLC
Print Name: ____________________________________

LAKEFRONT PICTURES, LLC
545 N DEARBORN ST, #2403, CHICAGO, IL 60654


Signature ______________________________________

Print Name _____________________________________




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     GROUP
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     GROUP
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From: chi-town-crusader <chi-town-crusader@protonmail.com>
Date: Wed, 8 Nov 2023 at 17:41
Subject: Beware of Lakefront and Jennifer Karum/Ryan Atkins
To: thejennijames@gmail.com <thejennijames@gmail.com>
Hi Ms. James,

I'm reaching out because it's come to the Chicago Film Community's attention that you may be doing
a film with Jennifer Karum (Goodman) & Ryan Atkins, aka Lakefront Pictures.

These are unsavory people.

I invite you to join some of the Chicago Filmmaker Groups on Facebook, where you will see that
they are people you will regret working with.

There is even a lawsuit against them, as posted in this Facebook Group, and there may be more
coming.

https://www.facebook.com/groups/109674265769579

In this group above, do a search for Jennifer Karum. Read ALL the comments on the posts.

Here is a link to an article regarding the lawsuit:

https://cookcountyrecord.com/stories/642330095-moviemaker-ancel-says-spat-over-control-of-
horror-film-led-to-alleged-false-sex-assault-professional-incompetence-
claims?fbclid=IwAR2ghZgdaUWAudNkGsjPy4UfFkSC7QjkAS19Vu65Q5luPxMdRoycGATomdA

Here is a link to the actual lawsuit:

https://casesearch.cookcountyclerkofcourt.org/CivilCaseSearchAPI.aspx

And this:

https://www.facebook.com/foolmanchu/posts/pfbid0MBYefSKAomdDW2gr2y9UpbqPujSoG4WTsXW
PJ1gxjpJF8Z32nuvfwG6armYNGQrYl

Attached are screen grabs from:
https://trellis.law/case/17031/2023-l-004921/jordan-ancel-vs-jennifer-karum-goodman-et-
al?fbclid=IwAR0I73vqnC1P3s0SN_OoR_625A77IjHy88eLOez6cekqYe5asoooYhe0Et0

Also attached are screenshots from another group called Lady K Castings, but that group is difficult
to get into because Jennifer infiltrates groups by using fake profiles in order to spy on people.

You can certainly reach out to the people on Facebook who have made these comments via DM to
verify the truth of these statements, and the truth about her.

Jennifer is banned from using interns from Columbia College.

She is know to stalk, bully, intimidate, and harass anyone that does not do what she wants or gives
her what she wants. She is also know to use fake profiles to stalk people, and most of her "good
reviews" are from fake profiles.

BEWARE

SHE IS DANGEROUS
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